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                                 132492



                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF INDIANA
                        INDIANAPOLIS DIVISION
___________________________________________

IN RE COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND              No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION               MDL No. 2570
___________________________________________

This Document Relates to the Following Cases:
Autumn Owens, 1:18-cv-01458;
Maria Andrae, 1:19-cv-01853;
Ashly Sproul, 1:19-cv-04452; and
Lisa Alkamel, 1:20-cv-6202.
___________________________________________



                ORDER ON DEFENDANTS' MOTION TO DISMISS
                       UNKNOWN PRODUCT CASES
                            (Filing No. 20715)

       Cook Incorporated, Cook Medical LLC f/k/a Cook Medical Incorporated, and

William Cook Europe ApS ("Cook") move to dismiss four cases in which the Plaintiffs'

complaints failed to identify the product they allege caused their injuries. In response to

Cook's motion, Plaintiffs Autumn Owens, Ashly Sproul, and Lisa Alkamel identified1 the

product at issue. Counsel for Plaintiff Maria Andrae represented he has lost contact with

her and has been unable to obtain her medical records. Therefore, Cook's motion (Filing

No. 20715) is GRANTED in part and DENIED AS MOOT in part. It is GRANTED

with respect to Ms. Andrae's case, and DENIED AS MOOT with respect to Ms. Owen's,



1
 Cook's reply only addresses Ms. Andrae's response, and its proposed order denies the motion as
moot with respect to Ms. Owen's, Ms. Sproul's and Ms. Alkamel's cases.
                                               1
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Ms. Sproul's, and Ms. Alkamel's cases.

SO ORDERED this 20th day of July 2022.



                                         s/RLY




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